                                                                                                                    EXHIBIT A
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         of 2
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       Page 1
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       Page 2
